        Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 1 of 18




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :    MAGISTRATE NO.
                                                 :
              v.                                 :    VIOLATIONS:
                                                 :    18 U.S.C. § 371 (Conspiracy)
 KENNETH HARRELSON,                              :
                                                 :    18 U.S.C. §§ 1512(c)(2), 2
                   Defendant.                    :    (Obstruction of an Official Proceeding
                                                 :    and Aiding and Abetting)
                                                 :
                                                 :    18 U.S.C. §§ 1361, 2
                                                 :    (Destruction of Government Property
                                                 :    and Aiding and Abetting)
                                                 :
                                                 :    18 U.S.C. § 1752(a)(1)
                                                 :    (Entering and Remaining in a
                                                 :    Restricted Building or Grounds)

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Kelsey Harris, being first duly sworn, hereby depose and state as follows:

                                 PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging Kenneth

Harrelson with violations of 18 U.S.C. §§ 2, 371, 1361, 1512(c)(2), and 1752(a)(1) (hereinafter,

“Subject Offenses”). This Affidavit sets forth evidence establishing probable cause that Kenneth

Harrelson conspired with others known and unknown to obstruct the United States Congress’s

affirmation of the Electoral College vote regarding the results of the 2020 U.S. Presidential

Election, and that they committed other related federal crimes in furtherance of that purpose, as

set forth below.

       2.      On February 19, 2021, a federal grand jury in Washington, D.C., handed up a

superseding indictment in case number 21-CR-00028, charging Jessica Watkins, Donovan Crowl,

Thomas Caldwell, Sandra Parker, Bennie Parker, Graydon Young, Laura Steele, Kelly Meggs, and
        Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 2 of 18




Connie Meggs on counts of Conspiracy, in violation of 18 U.S.C. § 371; Obstruction of an Official

Proceeding and Aiding and Abetting, in violation of 18 U.S.C. §§ 1512(c)(2), 2; Destruction of

Government Property and Aiding and Abetting, in violation of 18 U.S.C. §§ 1361, 2; and Restricted

Building or Grounds Access, in violation of 18 U.S.C. §§ 1752(a)(1).

       3.        I respectfully submit that this Affidavit establishes probable cause to believe that

Kenneth Harrelson, with the conspirators named above:

            a.      Knowingly and willfully conspired with others whose identities are known and

                    unknown to law enforcement at this time to commit an offense against the

                    United States, in violation of 18 U.S.C. § 371, that is, to corruptly obstruct,

                    influence, or impede an official proceeding in violation of 18 U.S.C.

                    § 1512(c)(2);

            b.      Attempted to willfully injure or commit depredation against any property of the

                    United States, and aided and abetted the willful injury of or depredation against

                    any property of the United States, in violation of 18 U.S.C. §§ 1361 and 2;

            c.      Corruptly obstructed, influenced, and impeded an official proceeding, in

                    violation of 18 U.S.C. § 1512(c)(2); and

            d.      Entered and remained in any restricted building and grounds without lawful

                    authority, in violation of 18 U.S.C. § 1752(a)(1).

       4.        Specifically, Harrelson, operating as a group with the individuals identified in

paragraph 2, and others, breached the U.S. Capitol, directly or indirectly damaged property of the

Capitol, and obstructed Congressional proceedings.




                                                  2
        Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 3 of 18




                                BACKGROUND OF AFFIANT

       5.      As a Special Agent with the Federal Bureau of Investigation (“FBI”), I am

empowered by law to conduct investigations, make arrests, and execute and serve search and arrest

warrants for offenses enumerated in Title 21 and Title 18 of the United States Code. I have received

training and gained experience in a variety of criminal laws and procedures, including those

involving drug distribution, white collar crime and crimes of violence. Through my training,

education and experience, I have become familiar with the manner in which criminal activity is

carried out, and the efforts of persons involved in such activity to avoid detection by law

enforcement. In addition to my regular duties, I am currently tasked with investigating criminal

activity that occurred in and around the U.S. Capitol grounds on January 6, 2021.

       6.      Unless otherwise stated, the information in this Affidavit is either personally known

to me, has been provided to me by other individuals, or is based on a review of various documents,

records, and reports. Because this Affidavit is submitted for the limited purpose of establishing

probable cause, it does not contain every fact known by me or the United States. The dates listed

in this Affidavit should be read as “on or about” dates.

                                        BACKGROUND

The 2020 United States Presidential Election and the Official Proceeding on January 6, 2021

       7.      The 2020 United States Presidential Election occurred on November 3, 2020.

       8.      The United States Electoral College is a group required by the Constitution to form

every four years for the sole purpose of electing the president and vice president, with each state

appointing its own electors in a number equal to the size of that state’s Congressional delegation.

       9.      On December 14, 2020, the presidential electors of the U.S. Electoral College met

in the state capital of each state and in the District of Columbia and formalized the result of the



                                                 3
        Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 4 of 18




2020 U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have

won sufficient votes to be elected the next president and vice president of the United States.

       10.     On January 6, 2021, a Joint Session of the United States House of Representatives

and the United States Senate (“the Joint Session”) convened in the United States Capitol building

(“the Capitol”) to certify the vote of the Electoral College of the 2020 U.S. Presidential Election

(“the Electoral College vote”).

                         The Attack at the U.S. Capitol on January 6, 2021

       11.     The Capitol is secured 24 hours a day by United States Capitol Police. The Capitol

Police maintain permanent and temporary barriers to restrict access to the Capitol exterior, and

only authorized individuals with appropriate identification are allowed inside the Capitol building.

       12.     On January 6, 2021, at approximately 1:00 p.m., the Joint Session convened in the

Capitol building to certify the Electoral College vote. Vice President Michael R. Pence, in his

constitutional duty as President of the Senate, presided over the Joint Session.

       13.     A large crowd began to gather outside the Capitol perimeter as the Joint Session

got underway. Crowd members eventually forced their way through, up, and over Capitol Police

barricades and advanced to the building’s exterior façade. Capitol Police officers attempted to

maintain order and stop the crowd from entering the Capitol building, to which the doors and

windows were locked or otherwise secured. Nonetheless, shortly after 2:00 p.m., crowd members

forced entry into the Capitol building by breaking windows, ramming open doors, and assaulting

Capitol Police officers. Other crowd members encouraged and otherwise assisted the forced entry.

The crowd was not lawfully authorized to enter or remain inside the Capitol, and no crowd member

submitted to security screenings or weapons checks by Capitol Police or other security officials.

       14.     Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate

(including Vice President Pence)—who had withdrawn to separate chambers to resolve an

                                                 4
        Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 5 of 18




objection—were evacuated from their respective chambers. The Joint Session and the entire

official proceeding of the Congress was halted while Capitol Police and other law-enforcement

officers worked to restore order and clear the Capitol of the unlawful occupants.

       15.     Later that night, law enforcement regained control of the Capitol. At approximately

8:00 p.m., the Joint Session reconvened, presided over by Vice President Pence, who had remained

hidden within the Capitol building throughout these events.

       16.     In the course of these events, approximately 81 members of the Capitol Police and

58 members of the Metropolitan Police Department were assaulted. The Capitol suffered millions

of dollars in damage—including broken windows and doors, graffiti, and residue from pepper

spray, tear gas, and fire extinguishers deployed both by crowd members who stormed the Capitol

and by Capitol Police officers trying to restore order. Additionally, many media members were

assaulted and had cameras and other news-gathering equipment destroyed.

                                     The Oath Keepers Militia

       17.     Law enforcement and news-media organizations observed that members of an

organization known as the Oath Keepers were among the individuals and groups who forcibly

entered the Capitol on January 6, 2021. The Oath Keepers are a large but loosely organized

collection of individuals, some of whom are associated with militias. Some members of the Oath

Keepers believe that the federal government has been coopted by a cabal of elites actively trying

to strip American citizens of their rights. Though the Oath Keepers will accept anyone as

members, they explicitly focus on recruiting current and former military, law enforcement, and

first-responder personnel. The organization’s name alludes to the oath sworn by members of the

military and police to defend the Constitution “from all enemies, foreign and domestic.” The Oath

Keepers are led by PERSON ONE.



                                                5
        Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 6 of 18




       18.     In a widely disseminated video1 recorded by a photojournalist on January 6, 2021,

a “stack” of individuals dressed in matching uniforms consisting of camouflaged-combat attire, to

include confirmed Oath Keeper members (further described below), moves up and through a

crowd on the east side of the U.S. Capitol. A screenshot of the video is below, with a portion of

the “stack” encircled by a red oval, and Harrelson in a green circle:




       19.     Based on my training and experience, a stack or line formation is a tactical

formation used by infantryman in the military. One defining feature of this formation is that

members keep their hands on the backs or vests of the person in front of them to remain together

while entering a room or weaving through a crowd. The purpose of maintaining direct physical


       1
          See https://apnews.com/article/ex-military-cops-us-capitol-riot-a1cb17201dfddc98291edead5
badc257/gallery/0ecd1781c66d437f92c61b3f4848a74e (at slide 10).

                                                 6
        Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 7 of 18




contact with one another is to efficiently communicate with one another, especially in crowded or

noisy areas.

       20.      A service called “News2Share” uploaded to YouTube a video of the January 6,

2021, attack at the Capitol. At the approximate 3-minute-and-8-second mark, the video shows

eight-to-ten individuals in matching uniforms consisting of camouflaged-combat attire

aggressively approaching an entrance to the Capitol.2 These individuals, who are wearing helmets,

reinforced vests, and clothing with Oath Keeper logos and insignia, can be seen moving in an

organized and practiced fashion and forcing their way to the front of the crowd gathered around a

set of doors to the Capitol.




       21.      A close-up view of the badges on the vest of one of these individuals, seen just

under the Oath Keepers emblem on his shirt, displays the Oath Keepers motto, “Not On Our

Watch.” The badge also says, “I don’t believe in anything. I’m just here for the violence.”




       2
           See https://www.youtube.com/watch?v=b76KfHB0QO8&feature=youtu.be.


                                                7
        Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 8 of 18




       22.      Based on the foregoing observations of the video, and information gained in the

course of my investigation, it is reasonable to believe that the organized group of individuals

marching to the doors of the Capitol in the video above are members and affiliates of the Oath

Keepers.

       23.      On January 6, 2021, the particular Capitol doors through which this “stack” of Oath

Keepers (and other members of the crowd) breached were significantly damaged. Among other

damage, multiple panes of glass were smashed, and a door handle was missing or broken off. The

damage is estimated at over $1000.

             Conspirators: Watkins, Crowl, Caldwell, Sandra Parker, Bennie Parker,
                        Young, Steele, Kelly Meggs, and Connie Meggs

       24.      Watkins, Crowl, Young, Steele, Sandra Parker, Kelly Meggs, and Connie Meggs

were among the “stack” members who breached the Capitol and penetrated the Rotunda.

       25.      Bennie Parker – the husband of Sandra Parker – remained on restricted grounds just

outside of the Capitol.

       26.      Caldwell, who lives in Virginia, provided logistical assistance, including finding

the hotel in Northern Virginia where several members of the conspiracy stayed from January 5

through 7, 2021. Caldwell further coordinated with a group of co-conspirators who agreed to serve



                                                 8
        Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 9 of 18




as a “quick reaction force” (“QRF”) to monitor the attack at the Capitol from a distance and be

prepared to travel to the Capitol in the event they were called upon, possibly while armed.

Caldwell also provided maps informing the QRF team how to most effectively reach the Capitol

from their staging area.

        27.     Crowl, Watkins, Bennie Parker, and Sandra Parker live in Ohio. They traveled

together by car from Ohio to a home in Virginia belonging to Thomas Caldwell. From Virginia,

the group drove to the Washington, D.C., area in advance of the attack on the Capitol on January

6.

        28.     Young lives in Florida and Steele lives in North Carolina. They are siblings. In

advance of the attack on the Capitol on January 6, Young flew from Florida to North Carolina, and

then traveled with Steele by car from North Carolina to the Washington, D.C., area.

        29.      Kelly Meggs and Connie Meggs are a married couple who live in Florida. They

traveled together by car from Florida to a home in North Carolina belonging to Person Three.

They then drove to the Washington, D.C., area in advance of the attack on the Capitol on January

6. On December 31, 2020, Kelly Meggs wrote a series of messages to another person on Facebook

that said, “You guys Gonna carry?” and “Ok we aren’t either, we have a heavy QRF3 10 Min out

though.”

        30.     The FBI has obtained an audio recording of Zello4 communications between

Watkins and other suspected Oath Keepers during the January 6th attack on the U.S. Capitol.




        3
         Based on the investigation, QRF appears to refer to a “quick reaction force,” as used in
paragraph 26.
        4
         Zello is a push-to-talk application that operates like a walkie-talkie on a cellular telephone. The
Zello application may, depending on a user’s settings, store recordings and other information about the
user’s communications on the user’s phone.


                                                     9
        Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 10 of 18




During the recorded transmission—believed to be among Watkins and other Oath Keepers on a

Zello channel called “Stop the Steal J6”—Watkins had the following exchanges (among others),

which are approximately transcribed:

              a.      At the approximate 5-minute mark, the voice believed to be Watkins reports,

                      “We have a good group. We have about 30-40 of us. We are sticking together

                      and sticking to the plan.” An individual responds, “We’ll see you soon, Jess.

                      Airborne.”

              b.      At the approximate 7-minute-and-44-second mark, an unknown male states,

                      “You are executing citizen’s arrest. Arrest this assembly, we have probable

                      cause for acts of treason, election fraud.” The voice believed to be Watkins

                      responds, “We are in the mezzanine. We are in the main dome right now. We

                      are rocking it. They are throwing grenades, they are fricking shooting people

                      with paint balls. But we are in here.” An individual responds to Watkins,

                      telling her to be safe, and states, “Get it, Jess. Do your fucking thing. This is

                      what we fucking [unintelligible] up for. Everything we fucking trained for.”

        31.        On December 30, 2020, Watkins and Caldwell exchanged several text messages

coordinating their plans and the plans of others for January 6, 2021, including the following

message sent by Caldwell to Watkins:

                             Talked to [Person Three].5 At least one full bus 40+ people
                             coming from N.C. Another group (unclear if Mississippi guys)
                             also a bus. Busses have their own lane on the 14th street bridge
                             so they will be able to get in and out. [Person Three] is driving
                             plus 1 and arriving nite before. As we speak he is trying to book



        5
        This individual is referred to in other filings in this matter as “Person Three,” so I am using that
nomenclature in this affidavit even though this affidavit does not reference a “Person Two.”

                                                    10
       Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 11 of 18




                             a room at Comfort Inn Ballston/Arlington6 because of its close-
                             in location and easy access to downtown because he feels 1) he's
                             too broken down to be on the ground all day and 2) he is
                             committed to being the quick reaction force anf bringing the
                             tools if something goes to hell. That way the boys don't have to
                             try to schlep weps on the bus. He'll bring them in his truck day
                             before. Just got a text from him he WAS able to book a room in
                             that hotel I recommended which is on Glebe Road in Arlington.
                             However it goes it will be great to see you again! I sure hope
                             your arm is getting better!

       32.       On January 6, 2021, while at the Capitol, Caldwell received the following Facebook

message: “All members are in the tunnels under capital seal them in. Turn on gas.” When Caldwell

posted a Facebook message that read, “Inside,” he received the following messages, among others:

“Tom take that bitch over”; “Tom all legislators are down in the Tunnels 3floors down”; “Do like

we had to do when I was in the core start tearing oit florrs go from top to bottom”; and “Go through

back house chamber doors facing N left down hallway down steps.”

       33.       Records received from Facebook show that, on the evening of January 6, 2021,

Young posted on Facebook: “We stormed and got inside.”

                STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       34.       Kenneth Harrelson is a 41-year-old resident of Titusville, Florida. As described

more fully herein Harrelson conspired with others known and unknown, to forcibly enter the

Capitol on January 6, 2021, and to obstruct the Congressional proceeding occurring that day.

       35.       An individual matching the description of Harrelson appears in the New York

Times article “Tracking the Oath Keepers Who Attacked the Capitol”7:




       6
           This is the same hotel at which Caldwell, Watkins, and Crowl stayed, at Caldwell’s suggestion.
       7
           https://www.nytimes.com/interactive/2021/01/29/us/oath-keepers-capitol-riot.html

                                                    11
       Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 12 of 18




       36.     One of the New York Times images shows an individual who appears to be

Harrelson facing the military-style “stack” formation of individuals moving up through the crowd

towards the door of the Capitol:




                                              12
       Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 13 of 18




       37.     And video footage from AP News8 shows Harrelson interacting with these

individuals as they move up towards him in the stack:




       38.     Surveillance video from inside the Capitol shows this “stack” of Oath Keepers (and

other members of the crowd) shortly after they breached and damaged the doors to the Capitol:




       8
        See https://apnews.com/article/ex-military-cops-us-capitol-riot-a1cb17201dfddc98291edead5
badc257/gallery/0ecd1781c66d437f92c61b3f4848a74e (at slide 10).

                                                13
       Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 14 of 18




       39.     Members of the “stack” of Oath Keepers that forcibly entered the Capitol then

congregated inside the north section of the Rotunda, as seen in surveillance video from inside the

Capitol:




       40.     Surveillance video from inside the Capitol on January 6, 2021, also shows a person

consistent with Harrelson, along with other members of the Oath Keepers:




                                               14
       Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 15 of 18




       41.    While inside the Rotunda, a photojournalist took a picture of Young (red arrow)

with his hand on the shoulder of Harrelson (green arrow):




       42.    From an open source, the FBI received the following photograph of individuals

affiliated with the Oath Keepers outside the U.S. Capitol on January 6, 2021. The group includes

Young (red arrow), Kelly Meggs (blue arrow), Steele (yellow arrow), and Harrelson (green arrow):




                                              15
         Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 16 of 18




         43.    Your affiant has reviewed records, including a driver’s license photograph from the

Florida Department of Motor Vehicles, and confirmed that Harrelson appears to be the person

depicted in the above photographs at and inside the Capitol.9

         44.    Pursuant to legal process, the government obtained Verizon records for Kelly

Meggs. Call records indicate Kelly Meggs received a phone call from a phone number ending in

0136 on January 4, 2021 (and that the two exchanged multiple additional phone calls in December

2020).

         45.    Pursuant to legal process, the government obtained records from AT&T, which

showed that the phone number ending in 0136 is registered to Harrelson, at an address in Titusville,

Florida, that matches Harrelson’s address with the Florida Department of Motor Vehicles.

         46.    The carrier for the phone number ending in 0136 is AT&T. Pursuant to an

authorized search warrant, law enforcement obtained records from AT&T for cell towers providing

service to the United States Capitol. The device associated with the phone number ending in 0136

was identified as having utilized a cell site consistent with providing service to the geographic area


         9
           Your affiant notes the following information. First, on or around January 13, 2021, after
receiving a tip from family members of an individual (Subject-1) that photos and video of Harrelson from
the civil unrest on January 6, 2021, depicted Subject-1 (an individual other than Harrelson), the FBI
began investigating Subject-1. The FBI determined that Subject-1’s driver’s license photo resembled the
photos of Harrelson from January 6. The FBI showed a family member of Subject-1 a photo of Harrelson
from January 6, and the family member positively identified the person in the photo as Subject-1. The
family member specifically noted recognizing Subject-1’s face, ear, and watch in the photo. The FBI
then determined that Subject-1 was not the individual depicted in the photos at the U.S. Capitol on
January 6, after the FBI interviewed Subject-1 and learned of Subject-1’s whereabouts on January 6.
        Second, on or around January 10, 2021, a concerned citizen provided the FBI with a tip that the
photo of Harrelson in the Rotunda was a photo of Subject-2, who was an individual with whom the
concerned citizen had interacted while in Washington, D.C., on or around January 6. The FBI spoke with
the concerned citizen, who stated that Subject-2 had appeared to physically resemble the individual
depicted in the photos showing Harrelson. The FBI also spoke with Subject-2’s spouse, who confirmed
the spouse and Subject-2 were at the rally in Washington, D.C., on January 6. The FBI also determined
that open source photos of Subject-2 resembled the photos of Harrelson from January 6. Ultimately, the
FBI concluded that Subject-2 was not the individual depicted in the photos of Harrelson.

                                                  16
       Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 17 of 18




that includes the interior of the United States Capitol building in and around the time of the attack

on the Capitol on January 6, 2021.

        47.     Pursuant to legal process, the government obtained records from AT&T, which

showed an IMEI ending in 5025 is registered on the account of the phone number ending in 0136.

According to database information this IMEI is associated with an iPhone XS Max. An IMEI

stands for International Mobile Equipment Identity, which is a 15-digit number unique to each

device. From your affiant’s training and experience, I know that this means Harrelson used an

Apple iOS to operate this device.

        48.     Pursuant to legal process, the government obtained records from Yahoo showing

the email address containing “hot_rod” at yahoo.com is registered to user Kenneth Harrelson, with

the same phone number ending in 0136 used to verify the account.

        49.     Pursuant to legal process, the government obtained records from Apple showing

that the Apple ID with email address containing “hot_rod” at yahoo.com was associated with the

phone number ending in 0136. Further, records from Apple indicate the user accessed Apple’s

servers from an IP address ending in 158, which resolves to Titusville, Florida.

        50.     Pursuant to legal process, the government obtained records from Go To Meeting10

showing that a user named “gator 6” was the organizer for a meeting titled “dc planning call” on

January 3, 2021. The user “gator 6” accessed the meeting from a mobile device using the same IP

address ending in 158, and the user listed themselves as residing in Titusville, Florida. Between

September 30, 2020, and January 3, 2021, the user with the same IP address ending in 158 attended

or organized approximately 30 meetings on Go To Meeting affiliated with the Oath Keepers, using



        10
          Go To Meeting is an online meeting site that allows users to host conference calls and video
conferences via the Internet in real time.

                                                   17
       Case 1:21-mj-00283-RMM Document 1-1 Filed 03/05/21 Page 18 of 18




the names “gator 6,” “hotel 26,” or “kenneth harrelson.”

       51.     Pursuant to legal process, the government obtained records from Stripe showing

that Harrelson made payments to Oath Keepers, Inc., in July, October and November 2020.

       52.     The Department of Defense reports that Harrelson previously served in the United

States Army.

                                CONCLUSIONS OF AFFIANT

       53.     Based on the foregoing, I submit that there is probable cause to believe that Kenneth

Harrelson committed violations of 18 U.S.C. §§ 2, 371, 1361, 1512(c)(2), and 1752(a)(1).

       54.     As such, I respectfully request that the Court permit the filing of this Complaint.


                                             _______________________________________
                                             SPECIAL AGENT KELSEY HARRIS
                                             FEDERAL BUREAU OF INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, March 5, 2021.
                                                            2021.03.05
                                                            11:08:38 -05'00'
                                             ___________________________________
                                             HON. ROBIN M. MERIWEATHER
                                             U.S. MAGISTRATE JUDGE




                                                18
